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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

 v.                                                         Criminal No. 1:22-CR-51-3
                                                            (Chief Judge Kleeh)

 SEAN MCKINNON,

                          Defendant.

  UNITED STATES’ RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
 CONSIDER MOTION TO REVIEW DETENTION ORDER OUT OF TIME (Doc. No. 61)

          Comes now the United States of America, by and through William Ihlenfeld, United

 States Attorney, and Brandon S. Flower, Assistant United States Attorney, with its Response in

 Opposition to Defendant’s Motion to Consider Motion to Review Detention Order Out of Time

 (Doc. No. 61).    For the reasons stated below, the United States opposes the motion and

 respectfully asks that this Court deny the Defendant’s request to review the detention order and

 release the defendant.

                               Procedural and Factual Background

          1.    On October 29, 2018, the defendant, Sean McKinnon, was an inmate at USP

 Hazelton. The defendant was assigned to the F-1 housing unit and was a cellmate with co-

 defendant Fotios Geas, aka “Freddy” (Geas) in cell 125. The defendant spoke with his mother

 by phone that evening and told her that another inmate, James “Whitey” Bulger (Bulger), was

 transferring to the prison. His mother was concerned and told the defendant to stay away from

 Bulger. The defendant told her that he could not do that because he and Bulger were in the same

 group.



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         2.     Later that evening, Bulger arrived at USP Hazelton. After going through the

 intake process, staff escorted Bulger, who was in a wheelchair, to the F-1 Unit. Inmates in the F-

 1 Unit were already locked in their cells for the night when Bulger arrived. Bulger was placed in

 cell 132, a handicap-accessible cell.

         3.     Shortly before 6:00am on October 30, 2018, staff released inmates in the F-1 Unit

 from their cells. Co-defendant Paul DeCologero, aka “Pauly,” (DeCologero) exited his cell, cell

 229, and went to Geas and the defendant’s cell. Over the next several minutes, the three inmates

 exited and reentered cell 125. On at least three occasions, all three inmates were together in the

 cell.

         4.     Around 6:06am, Geas and DeCologero left cell 125 and went to Bulger’s cell.

 DeCologero entered first followed by Geas. They remained in the cell for approximately 7

 minutes. During this period, the defendant spent most of his time sitting at a table looking

 towards cell 132. Geas and DeCologero exited Bulger’s cell at 6:13am. They went back to cell

 125 where the defendant met them.

         5.     Around 8:00am, staff conducted rounds in the F-1 Unit.           Officers went to

 Bulger’s cell. They observed Bulger laying in his bed with a blanket pulled over most of his

 head. Bulger did not respond to prompts from the officers. The officers noticed blood on

 Bulger’s head and radioed for a medial emergency. When the officers pulled back the blanket,

 they saw that Bulger’s eyes were swollen and blood was on his face. The officers began life-

 saving medical treatment.

         6.     Staff transported Bulger to the health services department where he continued to

 receive medial treatment. He was pronounced dead at 9:04am.


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        7.     Special Investigative Services (SIS) staff reviewed the surveillance video and

 observed Geas and DeCologero go into Bulger’s cell. SIS also noted that no other inmates

 entered or exited the cell, except for Bulger’s cellmate. SIS also observed the defendant’s

 actions throughout the time period as noted above.

        8.     On October 30, 2018, the FBI interviewed the defendant about Bulger’s death.

 He said he was not aware of what happened to Bulger. He claimed he learned about Bulger from

 reading about him. He said he heard a rumor the day before that Bulger was coming to USP

 Hazelton. The defendant said Geas was his cellmate. He said the night before that he watched a

 New England Patriots game and Geas went to bed early. He stated that he woke up that

 morning, did laundry, ate breakfast, and looked for his radio in the unit. He said he spoke with

 Geas and DeCologero, but did not discuss Bulger. He claimed he did not see them go into

 Bulger’s cell. He claimed that when he and Geas were locked down (after Bulger’s body was

 found), they played cribbage. He said Geas did not act strangely. He did not see blood on Geas

 or injuries to his hands. The defendant claimed he did not know anything about the Bulger

 incident.

        9.     The West Virginia State Medical Examiner conducted an autopsy of Bulger. He

 observed multiple blunt force injuries to Bulger’s head.      He identified brain hemorrhages,

 contusions, and lacerations to Bulger’s head. The medical examiner found that Bulger’s eyes

 had been cut with a sharp instrument and that he had a stab wound in his cheek. The medical

 examiner determined that the cause of Bulger’s death was blunt force injuries to his head and the

 manner of death was homicide.




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        10.       On November 15, 2018, the defendant placed a telephone call to his mother.

 During the call he explained he was in the Special Housing Unit (SHU) because of the Bulger

 homicide investigation. He told her that Geas and another guy were the ones that went into

 Bulger’s cell.

        11.       The defendant made admissions to at least two other inmates with which he has

 been incarcerated. In 2021, the defendant and DeCologero were housing in the SHU at USP

 Hazelton. An inmate was placed in the cell across from them. They began speaking with the

 inmate and eventually told the inmate that they were involved in the Bulger homicide. The

 inmate asked them if they were the guys that killed Bulger. They said yes. DeCologero told him

 that he and his cellie (the defendant) were in the SHU for the Bulger incident. DeCologero said

 Freddy (Geas) was involved too.        DeCologero said they used a lock to assault Bulger.

 DeCologero told him that Bulger was a snitch and he volunteered to put in the work.

 DeCologero said as soon as they saw Bulger come into the unit that they planned to kill him.

 The inmate clarified that DeCologero meant Geas, the defendant, and himself when he said they

 planned to kill Bulger. The inmate said DeCologero told him that the next morning they went

 directly to Bulger’s cell and told his cellmate to leave. Bulger was using the bathroom and began

 yelling at them. DeCologero said he and Geas went into the cell and the defendant was a

 lookout. DeCologero said that they used locks to kill Bulger. DeCologero denied using a knife

 or sharp weapon. The defendant told the inmate that he was the lookout.

        12.       In September of 2022, the defendant made admissions to another inmate in a

 Florida jail. The inmate advised he began speaking to the defendant. The defendant referred to

 the Bulger case and was calling Bulger a “snitch” who worked for the FBI. The defendant said


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 that in USP Hazelton he plotted with Geas and DeCologero to kill Bulger the day before the

 homicide. The defendant wished to participate more in the homicide, however, he was assigned

 the task of “lookout.” The defendant said that Geas and DeCologero were the ones who actually

 did the killing. He said they used a lock to kill Bulger. He stated that Geas said if the defendant

 were to ever get caught up in the homicide case, he (Geas) would take the charges.

        13.     On August 17, 2022, a Federal grand jury sitting in Clarksburg returned a five-

 count indictment against Geas, DeCologero, and the defendant. The indictment charges the

 defendant in Count One with Conspiracy to Commit First Degree Murder, in violation of 18

 U.S.C. § 371, and in Count Five with False Statement to Federal Agent, in violation of 18 U.S.C.

 § 1001(a)(2). Doc. No. 1.

        14.     On August 19, 2022, a magistrate judge for the Middle District of Florida

 convened an identity hearing.     The defendant waived his right to an identity hearing and

 consented to his appearance in the Northern District of West Virginia. Doc. No. 6-3.

        15.      On August 22, 2022, the magistrate judge, following a detention hearing, entered

 an order detaining the defendant. The court found that the government established “[b]y clear

 and convincing evidence that no condition or combination of conditions of release will

 reasonably assure the safety of any other person and the community,” and that the government

 established “[b]y a preponderance of evidence that no condition or combination of conditions of

 release will reasonably assure the defendant’s appearance as required.” Doc. No. 6-8. The court

 also found that weight of the evidence against the defendant was strong, he is facing a lengthy

 prison sentence if convicted, he has a significant prior criminal history, a history of violence or

 use of weapons, a lack of ties to MDFL, a history of alcohol/substance abuse, prior failure to


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 attend court, and prior attempts to evade law enforcement. Id. Further, the court made specific

 factual findings:

                a.   The Government proffered evidence of the defendant’s involvement in the

                     alleged offenses charges here, including video of the defendant with his co-

                     defendant who are alleged to have committed the murder;

                b. The nature of the offenses charged, the proffered evidence, and the

                     defendant’s criminal history make him a danger to the community and a flight

                     risk.

 Id.

        16.     On September 23, 2022, this court held an arraignment. The defendant entered

 pleas of not guilty to both counts. The court remanded the defendant to the custody of United

 States Marshal’s Service per the order of the United States District Court in the Middle District

 of Florida.

        17.     The defendant’s criminal history begins in 2004 when he was convicted of Petit

 Larceny (misdemeanor) in Vermont. In 2006, he was convicted of Buying, Receiving, Selling

 Possessing, or Concealing Stolen Property (misdemeanor). He was placed on probation, but it

 was later revoked. He was convicted of Assault & Robbery with Weapon/Attempt (felony) in

 2007 and sentenced to 2-4 years imprisonment. In 2008, he was convicted of Vehicle Operation-

 License Suspended/OSC and False Info to a Law Enforcement Officer. In 2011, the defendant

 was convicted of Malicious Destruction of Property over $250 (felony) and Disturbing a

 Correctional Institution (misdemeanor) following a riot at a Massachusetts prison. He was

 sentenced to one year to one year and a day. In 2015, the defendant was convicted in the United


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 States District Court for Vermont for Theft of Firearms (felony) and sentenced to 96 months in

 custody. The defendant was serving this sentence at USP Hazelton at the time of the offense

 charged in the instant indictment. Lastly, he has violated the terms and conditions of probation

 in the past.

         18.    The defendant had numerous disciplinary violations while incarcerated in the

 Federal Bureau of Prisons between 2016 and 2018. He accumulated violations for destroying

 property (x2), possessing drugs/alcohol (x5), destroy/dispose item, and stealing. Exhibit 1,

 Defendant’s BOP disciplinary record.

                                           Argument

         19.    A defendant can seek review of a magistrate judge’s order of detention by filing

 “a motion for revocation or amendment of the order. The motion shall be determined promptly.”

 18 U.S.C. § 3145(b). The district court reviews the order of the magistrate judge de novo.

 United States v. Williams, 753 F.2d 329, 333 (4th Cir. 1985); United States v. Clark, 865 F.2d

 1433, 1437 (4th Cir. 1989).

         20.    The court “shall hold a hearing to determine whether any condition or

 combination of conditions set forth in subsection (c) of this section will reasonably assure the

 appearance of such person as required and the safety of any other person or the community...in a

 case that involves…an offense for which a maximum term of imprisonment of ten years or more

 is prescribed by the Controlled Substances Act (21 U.S.C. 801 et seq.)…”           18 U.S.C. §

 3142(f)(1)(C). When deciding to detain a defendant, the court must make findings based on

 clear and convincing evidence “that no condition or combination of conditions will reasonably




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 assure the safety or any other person and the community.” Id. The court must consider several

 factors:

                  (1) the nature and circumstances of the offense charged, including whether the
                      offense is a crime of violence, a violation of section 1591, a Federal crime of
                      terrorism, or involves a minor victim or a controlled substance, firearm,
                      explosive, or destructive device;

                  (2) the weight of the evidence against the person;

                  (3) the history and characteristics of the person, including--
                      (A) the person's character, physical and mental condition, family ties,
                      employment, financial resources, length of residence in the community,
                      community ties, past conduct, history relating to drug or alcohol abuse,
                      criminal history, and record concerning appearance at court proceedings; and
                      (B) whether, at the time of the current offense or arrest, the person was on
                      probation, on parole, or on other release pending trial, sentencing, appeal, or
                      completion of sentence for an offense under Federal, State, or local law; and

                  (4) the nature and seriousness of the danger to any person or the community that
                      would be posed by the person's release.

 18 U.S.C. § 3142(g)(1-4).

            21.      In his instant motion requesting the court to review his detention, the defendant

 argues that he is not alleged to have committed any violent act, while acknowledging the alleged

 offense in Count One is a violent offense. Further, he argues the weight of the evidence against

 him is weak. Lastly, he argues that he can live with his mother in Ocala, Florida, and be subject

 to home detention. He asserts he can resume employment.

            22.      Despite the defendant’s claims, the nature and circumstances of the instant

 offenses, his criminal history, and personal characteristics demonstrate the defendant is a danger

 to the community and a flight risk. There are no conditions or set of conditions that the court can

 impose to alleviate those concerns.

            23.      The “nature and circumstances of the offense[s] charged” in this matter are quite

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 serious and create a substantial danger to others and the community. 18 U.S.C. § 3142(g)(1).

 The defendant served as a look out during the assault and murder of Bulger while the defendant

 was incarcerated at USP Hazelton. The co-defendants engaged in a brutal attack that left Bulger

 with multiple injuries to his brain and head. Those injuries resulted in his death. Not only did

 the defendant act as the look out, but he later told another inmate that he wanted to be more

 involved in the murder.

        24.    The weight of the evidence against the defendant is very strong. The defendant

 argues that the evidence against him is weak because the Government relies upon statements

 from inmates, which lack credibility. The defendant makes these assertions while overlooking

 the evidence that corroborates the information provided by other inmates. The BOP surveillance

 system captured the actions of all the defendants while in the F-1 Unit. Although the assault and

 murder were not captured on video because the incident occurred in a cell, the defendant’s

 movements and actions in the common areas are visible. Further, the defendant’s telephone calls

 to his mother and his admissions to other inmates show he had prior knowledge that Bulger was

 coming to USP Hazelton, who was involved in the murder, and confirm his role as a look out.

 Moreover, the information learned by other inmates occurred more than a year apart and at

 different institutions. Despite this, the information the defendant provided both inmates was

 consistent.

        25.    As to the third factor relating to the defendant’s history and characteristics, the

 defendant’s lengthy and continuous criminal history illustrate why he is a danger to the

 community. He has multiple felony convictions, including one for Assault & Robbery with

 Weapon/Attempt. His prior Federal conviction was for the Theft of Firearms. He admitted to


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trading the firearms for controlled substances. His convictions, and current charges, also involve

providing false information to law enforcement.             The magistrate judge found this factor

important since the defendant would be supervised by a Federal probation officer.       Further, he

has violated the terms and conditions of his probation in the past. Lastly, he incurred numerous

disciplinary violations while in BOP custody, including possessing drugs/alcohol, destroying

property, and stealing.

       26.     The defendant poses a serious risk to the safety of the community. The above

facts and circumstances clearly show that the defendant is an individual that will ignore the law

and place the safety of other individuals at risk.

       27.     Lastly, the defendant has not identified any condition or set of conditions that the

court could impose that would guarantee the safety of others and the community. The defendant

may assert that he could live at a residence subject to electronic home confinement and that he

has employment. However, his track record shows multiple instances of failure to comply with

court orders, including probation, and engaging in a pattern of criminal behavior. Many of his

convictions involve violence and firearms.

       WHEREFORE, for the reasons articulated above, the Government requests that the court

find the defendant is a flight risk and that no condition or set of conditions can ensure the safety

of others or the community, and order the defendant remain detained.

                                                          Respectfully submitted:

                                                          UNITED STATES OF AMERICA,
                                                          WILLIAM IHLENFELD
                                                          United States Attorney

                                                          /s/ Brandon S. Flower
                                                          Brandon S. Flower, WVSB #9338
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                                                   Assistant United States Attorney
                                                   320 West Pike Street, Suite 300
                                                   Clarksburg, WV 26301-2710
                                                   Telephone: (304) 234-0110
                                                   Brandon.flower@usdoj.gov




                               CERTIFICATE OF SERVICE

       I, Brandon S. Flower, certify that on November 30, 2022, I electronically filed the

foregoing with the Clerk using the CM/ECF system, which will send notification of such filing to

counsel for the defendant.


                                               /s/ Brandon S. Flower
                                            Brandon S. Flower, WVSB #9338
                                            Assistant United States Attorney
                                            United States Attorney=s Office
                                            320 W. Pike Street, Suite 300
                                            Clarksburg, WV 26301-2710
                                            Telephone: (304) 234-0110
                                            Brandon.flower@usdoj.gov




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